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                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                            ROANOKE DIVISION
                                 CRIMINAL MINUTES – SENTENCING HEARING

   Case No.: 4:18CR00011-009                                         Date: 1/30/2020
    Defendant: Shanicqua Latrice Coleman, bond                     Counsel: Rick Derrico, CJA



   PRESENT:        JUDGE:                     Michael F. Urbanski, CUSDJ           TIME IN COURT: 9:14-9:32 18m
                   Deputy Clerk:              Kristin Ayersman
                   Court Reporter:            Judy Webb
                   U. S. Attorney:            Ron Huber, Heather Carlton
                   USPO:                      Kim Falatic


   PROCEEDINGS:

          Dft orally waived Presentence Report.
          No evidence presented. Court asks to hear from parties re justifiable reasons for going below the guideline
          range to a sentence of probation.
          Court calculates guidelines.
          Court accepted Plea Agreement.


   SENTENCE IMPOSED AS FOLLOWS:
   PROB: Ct 25 – 1 year
   SA:   $100.00 due immediately.


   SPECIAL CONDITIONS OF SUPERVISION (Check applicable conditions):

          The drug testing condition is suspended, based on the court’s determination that youpose a low risk of
          future substance abuse.
          The defendant shall participate in a program of mental health treatment, as approved by the probation
          officer, until such time as the defendant has satisfied all requirements of the program – shall continue
          current program.
          The defendant shall reside in a residence free of firearms, ammunition, destructive devices and dangerous
          weapons.
          The defendant shall pay any fine, special assessment or restitution that is imposed by this judgment.
          The defendant shall submit his person, property, house, residence, vehicle, papers, or office, to a search
          conducted by a United States probation officer. Failure to submit to a search may be grounds for
          revocation of release. The defendant shall warn any other occupants that the premises may be subject to
          searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
          reasonable suspicion exists that the defendant has violated a condition of his supervision and that the areas
          to be searched contain evidence of this violation.

   ADDITIONAL RULINGS:

          Count(s) 9-12, 21s-24s dismissed on Government Motion.
          Defendant advised of right to appeal.
